Case 2:03-cr-20021-SH|\/| Document 186 Filed 05/20/05 Page 1 of 3 Page|D 242

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

VS. NO. 03 -2002 l -Ma

ANYTHONY BOLDEN,

Defendant.

 

ORDER OF REFERENCE

 

Defendant’$ May 2, 2005 Ex Parze Motion is referred to the magistrate judge to determine
whether defendant, Anthony Bolden, Should be allowed to appeal in forma pauperis.

IT IS 30 ORDERED this 'q Kclay OfMay, 2005.

_M,(/MM__P

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

 

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